                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 JAMELL LAMON CURETON,                          )
                                                )
                 Defendant.                     )



       THIS MATTER is before the court on periodic review for compliance with court Orders.

On June 2, 2015, this court Ordered that “Learned Counsel shall file with the court either a notice

of adoption or withdrawal of any motions which were filed by interim counsel within 14 days of

the entry of this Order." Order (#193) at 1. That deadline passed after June 19, 2015, and the court

sent counsel for this defendant an email on July 1, 2015, advising them of the missed deadline and

of the necessity of filing a motion to reopen and enlarge such period by showing excusable neglect.

Despite assurances from counsel that such deficiency would be remedied, six days have now

passed with no action taken by counsel. Once a deadline is missed, promptness and diligence in

curing a default are factors this court must consider in determining whether the neglect was

excusable. Pioneer Inv. Servs. Co. v. Brunswick Assocs., 507 U.S. 380, 391-92 (1993); Thompson

v. E.I. DuPont de Nemours & Co., 76 F.3d 530, 534 (4th Cir.1996).




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                                         ORDER

       IT IS, THEREFORE, ORDERED that this defendants pending motions filed by interim

counsel (#s 53,54,55,62, &125) be calendared for further hearing.


 Signed: July 7, 2015




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